Via Electronic Case Filing Only

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MEMO ENDORSED
The Application is granted.

SO ORDERED:
Hon. Paul G. Gardephe p / ; phe
Thurgood Marshall awd
United States Courthouse Paul G. Gardephe, U.S.D.J.
40 Foley Square Dated: March 5, 2024

New York, NY 10007

Re: Joint Application to adjourn the deadline for filing objections to the United
States Magistrate Judge Robyn F- Tarnofsky Report and Recommendations

Case: LaFia v. New York City etal, | Docket No. 1:22-ev-07925-PGG-JLC
Dear Judge Paul G. Gardephe:

I represent Plaintiff, Ms. Sharon Lafia in the above matter and respectfully request an
additional thirty (30) day, on consent, a joint adjournment to file objections to United States
Magistrate Judge (USMJ) Robyn F. Tarnofsky’s Report and Recommendations, docketed under
entry sixty-nine.

The undersigned spoke with defense counsel who did consent to this joint-request for a
thirty (30) day adjournment, (originally from February 12, 2023 (as per D.E. 69)) to April 13,
2024. This is the second request for an adjournment and is made jointly. The reason for this request
is both the litigation schedule of the undersigned, having to prepare/assist in the preparation of a
Southern District of New York matter for trial (Schottenstein v. Lee et al) before the Honorable
United States District Court Judge along with time-sensitive appellate filings, and cocounsel,
Cathryn Harris, who is currently working before the United Nations on several matters.

We thank the Court for its kind consideration. Please do not hesitate to contact the
undersigned should you have any questions or concerns.

CHM:chm

TeL: 631.450.2515 | Fax: 631.223.7377 | wes: coryhmorris.com | emai: info@coryhmorris.com
